                              Case 19-11566-KBO                       Doc 1          Filed 07/15/19         Page 1 of 16
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 District of Delaware

 Case number (If known):                                    Chapter 11
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                        Superior Silica Sands LLC


2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names


3.   Debtor’s federal Employer
     Identification Number (EIN)           9       0    –    0    3      8     9      8      8       9



4.   Debtor’s address                     Principal place of business                                    Mailing address, if different from principal place
                                                                                                         of business

                                            5600 Clearfork Main Street, Suite 400                    _
                                          Number         Street                                          Number      Street

                                                                                                     _
                                                                                                         P.O. Box

                                            Fort Worth                       TX           76109
                                          City                               State        ZIP Code       City                        State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                          Tarrant County
                                          County                                                          24068 Plantation Road
                                                                                                         Number      Street

                                                                                                         San Antonio                   TX        78230
                                                                                                         City                        State      ZIP Code




5.   Debtor’s website (URL)                         http://www.sssand.com


6.   Type of debtor                        Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding      LLP)
                                           Other. Specify:




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
                                  Case 19-11566-KBO                       Doc 1        Filed 07/15/19             Page 2 of 16

Debtor           Superior Silica Sands LLC                                        _                     Case number (if known)
                Name



                                             A. Check one:
7.    Describe debtor’s business
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above

                                             B. Check all that apply:

                                              Tax-exempt entity (as described in 26 U.S.C. § 501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                              Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes

                                                 2     1     2        3

8.    Under which chapter of the             Check one:
      Bankruptcy Code is the
      debtor filing?                          Chapter 7
                                              Chapter 9
                                              Chapter 11. Check all that apply:
                                                                     Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                      insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                      4/01/22 and every 3 years after that).
                                                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                      debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                      of operations, cash-flow statement, and federal income tax return or if all of these
                                                                      documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                     A plan is being filed with this petition.

                                                                     Acceptances of the plan were solicited prepetition from one or more classes of
                                                                      creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                     The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                      Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                      Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                      for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                      12b-2.
                                              Chapter 12

9.    Were prior bankruptcy cases  No
      filed by or against the debtor
      within the last 8 years?        Yes.            District                                 When                     Case number
                                                                                                        MM / DD / YYYY
      If more than 2 cases, attach a
                                                       District                                 When                     Case number
      separate list.
                                                                                                        MM / DD / YYYY

10.   Are any bankruptcy cases                No
      pending or being filed by a
      business partner or an                  Yes. Debtor S e e           a t t a c h e d S c h e d u l e 1 Relationship S e e a t t a c h e d S c h e d u l e 1
      affiliate of the debtor?                         District S e e a t t a c h e d S c h e d u l e 1                  When Contemporaneously
      List all cases. If more than 1,                                                                                                   MM /    DD    / YYYY
      attach a separate list.                          Case number, if known

     Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
                                 Case 19-11566-KBO                    Doc 1        Filed 07/15/19           Page 3 of 16

Debtor          Superior Silica Sands LLC                                    _                   Case number (if known)
               Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have  No
      possession of any real         Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                 Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                        It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?

                                                        It needs to be physically secured or protected from the weather.

                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                        Other



                                                     Where is the property?
                                                                                 Number        Street

                                                                                                                                                              _
                                                                                                                           _
                                                                                 City                                           State       ZIP Code


                                                     Is the property insured?

                                                      No
                                                      Yes. Insurance agency

                                                              Contact name                                                                                    _

                                                              Phone




             Statistical and administrative information



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                           5,001-10,000                             50,001-100,000
      creditors
      (on a consolidated basis)              100-199                         10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
      (on a consolidated basis)
                                             $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
                    Case 19-11566-KBO   Doc 1   Filed 07/15/19   Page 4 of 16




(on a consolidated basis)




                                                                     7/15/19
               Case 19-11566-KBO          Doc 1     Filed 07/15/19     Page 5 of 16



                                             Schedule 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, each of the affiliated entities listed below (including the debtor in this chapter
11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11 of title
11 of the United States Code in the United States Bankruptcy Court for the District of Delaware.
The Debtors have filed a motion requesting that the chapter 11 cases of these entities be
consolidated for procedural purposes only and jointly administered under the number assigned to
the chapter 11 case of Emerge Energy Services LP.

                          Emerge Energy Services LP
                          Emerge Energy Services GP LLC
                          Emerge Energy Services Operating LLC
                          Emerge Energy Services Finance Corporation
                          Superior Silica Sands LLC
              Case 19-11566-KBO          Doc 1    Filed 07/15/19     Page 6 of 16



                               WRITTEN CONSENT OF THE
                                    SOLE MEMBER
                                         OF
                              SUPERIOR SILICA SANDS LLC

                                          July 15, 2019

        The undersigned being the sole member (the “Member”) of Superior Silica Sands LLC, a
Texas limited liability company (the “Company”), does hereby consent in writing to the taking
of the following actions and the adoption of the following resolutions, and to the waiver of all
notices and the holding of a meeting for the purpose of considering the same.

Approval of Bankruptcy Filing, DIP Financing and Plan Documents

       WHEREAS, Emerge Energy Services GP LLC (the “General Partner”) is the sole
general partner of Emerge Energy Services LP (the “Partnership”), which is the sole member of
the Member;

        WHEREAS, under the Amended and Restated Limited Liability Company Agreement of
the General Partner (the “LLC Agreement”), the consent of the members of the General Partner
is required for the Company to file a voluntary petition for relief under chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”), and the sole member of the General Partner has
waived its right to consent to such filing in favor of the Special Restructuring Committee (the
“Committee”);

      WHEREAS, under the LLC Agreement, the approval of the board of directors of the
General Partner (the “Board”) is required for the Member to authorize the Company to
commence a case under chapter 11 of the Bankruptcy Code;

       WHEREAS, the General Partner has entered into a Restructuring Support Agreement,
dated as of April 18, 2019 (the “Restructuring Agreement”), pursuant to which the authority of
the Board with respect to certain matters has been delegated to the Committee;

       WHEREAS, the Board authorized the execution, delivery and performance by the
General Partner of the Restructuring Agreement and the transactions contemplated thereby,
including, without limitation, the delegation by the Board to the Committee of the authority of
the Board to approve the filing of a voluntary bankruptcy petition by the Company;

       WHEREAS, the Committee has the authority to approve the commencement of a
voluntary case of the Company under chapter 11 of the Bankruptcy Code;

       WHEREAS, the Committee has determined that it is in the Company’s best interest to
commence a case under chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”) and has
approved the commencement of a case under chapter 11 of the Bankruptcy Code by the
Company;
               Case 19-11566-KBO         Doc 1     Filed 07/15/19     Page 7 of 16



        WHEREAS, the Member has reviewed and considered the materials presented by the
management and financial and legal advisors of the Partnership regarding the potential present
and future liabilities of the Partnership and its subsidiaries (the “Partnership Parties”), the
strategic alternatives available to it, and the impact of the foregoing on the Partnership Parties’
business;

       WHEREAS, the Member has consulted with the management and financial and legal
advisors of the Partnership Parties and has considered fully each of the strategic alternatives
available to each of the Partnership Parties;

     WHEREAS, the Member has determined that it is in the Company’s best interest to
commence the Chapter 11 Case;

        WHEREAS, in connection with the Chapter 11 Case, the Member, after consulting with
the management and financial and legal advisors of the Partnership, believes that the proposed
debtor in possession financing facility (the “DIP Financing”) on the terms set forth in that certain
Senior Secured Superpriority Debtor in Possession Credit Facility (the “DIP Credit Agreement”),
dated on or about July 15, 2019, between Emerge Energy Services Operating LLC and the
Company, as borrowers, the Partnership, Emerge Energy Services Finance Corporation, and the
Company, as guarantors, HPS Investment Partners, LLC, as administrative agent and collateral
agent, and the lenders from time to time party thereto, and believes that such DIP Financing is in
the best interests of the Company; and

        WHEREAS, in connection with the Chapter 11 Case, the Member, after consulting with
the management and financial and legal advisors of the Partnership, believes that filing and
prosecuting a joint chapter 11 plan of reorganization of the Debtors (the “Plan”), is in the best
interests of the Company.

       NOW, THEREFORE, BE IT RESOLVED, that the Member hereby approves the
Chapter 11 Case, the DIP Financing, including the DIP Credit Agreement, and the filing of the
Plan and the documents related thereto (the “Plan Documents”).

        RESOLVED FURTHER, that each of Bryan Gaston, Roy Messing, and Rick Shearer
(each, an “Authorized Person”), be, and each of them hereby is, acting singly, authorized to take
all such steps and do all such acts and things as they shall deem necessary or advisable to
commence the Chapter 11 Case, including, but not limited to, executing, verifying, and
delivering a voluntary petition in the name of each of the Partnership Parties under chapter 11 of
the Bankruptcy Code and causing the same to be filed with the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”), the making of any and all other necessary
filings with the Bankruptcy Court and any other filings that such Authorized Persons determine
to be necessary or advisable, the making and execution of any necessary or advisable
instruments, certificates, affidavits, or other documents in connection therewith, the signing or
endorsement of any checks, posting of any bonds, and the payment of any fees and expenses in
such connection, and to take any and all action to make, execute, verify, and file all applications,
certificates, documents, or other instruments and to do any and all acts and things that any one or
more of them shall deem necessary, advisable, or appropriate in order to carry out the intent and
purpose of any and all of the foregoing resolution.
               Case 19-11566-KBO         Doc 1     Filed 07/15/19     Page 8 of 16




        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, with full power of delegation, on behalf of and in the name of the
Company, to execute, verify, and/or file, or cause to be filed and/or executed or verified (or
direct others to do so on their behalf as provided herein), and to amend, supplement, or otherwise
modify from time to time, all necessary or appropriate documents, including, without limitation,
petitions, affidavits, schedules, motions, lists, applications, pleadings, and other documents,
agreements, and papers, including any and all loan agreements, documents, notes, guaranties,
security agreements, pledge agreements, and all other documents, agreements, or instruments as
may be deemed necessary or appropriate by such Authorized Person, and to take any and all
actions that the Authorized Person deems necessary or appropriate, each in connection with the
Chapter 11 Case, any postpetition financing, or any cash collateral usage contemplated hereby or
thereby.

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Company, to employ and retain the
law firms of Latham & Watkins LLP and Richards, Layton & Finger, P.A. to act as attorneys for
the Company in connection with the Chapter 11 Case.

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Company, to employ and retain
Houlihan Lokey Capital, Inc. as financial advisor to the Company in connection with the Chapter
11 Case.

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Company, to employ and retain
Kurtzman Carson Consultants LLC as claims, noticing, and solicitation agent and administrative
advisor for the Company in its Chapter 11 Case.

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Company, to employ and retain
such further legal, restructuring, financial, accounting, and other professionals (together with the
foregoing identified firms, the “Professionals”) as may be deemed necessary or appropriate by
any Authorized Person to assist the Company in carrying out its responsibilities in the Chapter
11 Case and achieving a successful reorganization.

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
with full power of delegation, in the name and on behalf of the Company, to take or cause to be
taken any and all such further action and to execute and deliver or cause to be executed or
delivered, and to amend, supplement, or otherwise modify from time to time, all such further
agreements, documents, certificates, statements, notices, undertakings, and other writings, and to
incur and to pay or direct payment of all such fees and expenses, as in the judgment of the
Authorized Person shall be necessary, appropriate, or advisable to effectuate the purpose and
intent of any and all of these resolutions.

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, with full power of delegation, on behalf of and in the name of the
              Case 19-11566-KBO         Doc 1     Filed 07/15/19    Page 9 of 16



Company, to execute, verify, and/or file, or cause to be filed and/or executed or verified (or
direct others to do so on their behalf as provided herein) the DIP Credit Agreement and
consummate the DIP Financing.

        RESOLVED FURTHER, that each Authorized Person be, and hereby is, authorized,
directed, and empowered, with full power of delegation, on behalf of and in the name of the
Company, to execute, verify, and/or file, or cause to be filed and/or executed or verified (or
direct others to do so on their behalf as provided herein) the Plan and Plan Documents and cause
the Company to perform its obligations thereunder.

       RESOLVED FURTHER, that all acts lawfully done or actions lawfully taken by any
Authorized Person or any of the Professionals in connection with the Chapter 11 Case or any
proceedings related thereto, or any matter related thereto, be, and hereby are, adopted, ratified,
confirmed, and approved in all respects as the acts and deeds of the Company.

        RESOLVED FURTHER, that any and all actions, whether previously or subsequently
taken by any Authorized Person or any other person authorized to act by an Authorized Person,
that are consistent with the intent and purpose of the foregoing resolutions or in connection with
any matters referred to herein, shall be, and the same hereby are, in all respects, ratified,
approved, and confirmed.

                                   [Signature Page(s) Follow]
Case 19-11566-KBO   Doc 1   Filed 07/15/19   Page 10 of 16
               Case 19-11566-KBO           Doc 1     Filed 07/15/19       Page 11 of 16


                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
                                                     1
EMERGE ENERGY SERVICES LP, et al.,                           : Case No. 19-_______ (_____)
                                                             :
                    Debtors.                                 : (Joint Administration Requested)
                                                             :
------------------------------------------------------------ x

                  CONSOLIDATED LIST OF CREDITORS HOLDING THE
                      THIRTY LARGEST UNSECURED CLAIMS

                Emerge Energy Services LP, Emerge Energy Services GP LLC, Emerge Energy

Services Operating LLC, Superior Silica Sands LLC, and Emerge Energy Services Finance

Corporation (together, the “Debtors”) each filed a petition in this Court on the date hereof for

relief under chapter 11 of title 11 of the United States Code. Contemporaneously with the filing

of their petitions, the Debtors filed a motion requesting, among other things, authority to file a

consolidated list of creditors holding the thirty largest unsecured claims (the “Largest

Unsecured Creditors List”).

                The Largest Unsecured Creditors List is based on the Debtors’ books and records

as of approximately July 15, 2019, and was prepared in accordance with rule 1007(d) of the

Federal Rules of Bankruptcy Procedure for filing in the Debtors’ chapter 11 cases. The Largest

Unsecured Creditors List does not include persons who come within the definition of “insider”

set forth in 11 U.S.C. § 101(31).

                The information contained in the Largest Unsecured Creditors List shall not

constitute an admission by, nor shall it be binding on, the Debtors.



1
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Emerge Energy Services LP (2937), Emerge Energy Services GP LLC (4683),
Emerge Energy Services Operating LLC (2511), Superior Silica Sands LLC (9889), and Emerge Energy
Services Finance Corporation (9875). The Debtors’ address is 5600 Clearfork Main Street, Suite 400,
Fort Worth, Texas 76109.
                                 Case 19-11566-KBO                 Doc 1   Filed 07/15/19             Page 12 of 16




    Debtor Name Superior Silica Sands LLC

    United States Bankruptcy Court for the: District of Delaware
                                                      (State)


    Case number (If known):
                                                                                                           Check if this is an amended filing




    Official Form 204

    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                               12/15
    A list of creditors holding the thirty (30) largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
    which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also,
    do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
    creditor among the holders of the thirty (30) largest unsecured claims.

Name of creditor and complete           Name, telephone number, and        Nature of the   Indicate if       Amount of unsecured claim
mailing address, including zip          email address of creditor          claim (for      claim is          If the claim is fully unsecured, fill in only
code                                    contact                            example,        contingent,       unsecured claim amount. If claim is
                                                                           trade debts,    unliquidated,     partially secured, fill in total claim amount
                                                                           bank loans,     or disputed       and deduction for value of collateral or
                                                                           professional                      setoff to calculate unsecured claim.
                                                                           services, and
                                                                           government                          Total         Deduction
                                                                           contracts)                         claim, if     for value of     Unsecured
                                                                                                              partially     collateral or      claim
                                                                                                              secured          setoff
1    TRINITY INDUSTRIES LEASING         MICHELLE JACKSON                   TRADE DEBT                                                         $8,923,599.68
     COMPANY                            PHONE: 214-589-8217
     MICHELLE JACKSON                   FAX: 469-610-1252
     2525 STEMMONS FREEWAY              EMAIL: MICHELLE.JACKSON@TRIN.NET
     DALLAS, TX 75207


2    MARKET & JOHNSON, INC              TINA BANKER                        TRADE DEBT      DISPUTED                                           $6,206,699.84
     TINA BANKER                        PHONE: 715-834-1213
     2530 GALLOWAY STREET               FAX: 715-834-2331
     EAU CLAIRE, WI 54702-0630          EMAIL: CLLOYD@MARKET-
                                        JOHNSON.COM


3    CIT GROUP/EQUIPMENT FINANCING,     PATRICK BAXTER                     TRADE DEBT                                                         $4,054,894.85
     INC                                PHONE: 312-906-5700
     PATRICK BAXTER                     FAX: 312- 906-5825
     30 S WACKER DRIVE                  EMAIL: VICTORIA.VANRIET@CIT.COM
     SUITE 2900
     CHICAGO, IL 60606


4    STOUT EXCAVATING GROUP, LLC        RICHARD CRUSING                    TRADE DEBT                                                         $3,100,224.24
     RICHARD CRUSING                    PHONE: 715-568-4141
     21218 100TH STREET                 FAX: 715-568-4144
     BLOOMER, WI 54724                  EMAIL:
                                        RCRUSING@A1EXCAVATING.COM


5    TMT SOLUTIONS INC                  ANDREW OBER                        TRADE DEBT      DISPUTED                                           $2,215,210.32
     ANDREW OBER                        PHONE: 512-392-9211
     4041 FM 1978                       EMAIL:
     SAN MARCOS, TX 78666               MENDSLEY@TMTSOLUTIONS.COM
                             Case 19-11566-KBO             Doc 1    Filed 07/15/19          Page 13 of 16


Name of creditor and complete      Name, telephone number, and      Nature of the   Indicate if     Amount of unsecured claim
mailing address, including zip     email address of creditor        claim (for      claim is        If the claim is fully unsecured, fill in only
code                               contact                          example,        contingent,     unsecured claim amount. If claim is
                                                                    trade debts,    unliquidated,   partially secured, fill in total claim amount
                                                                    bank loans,     or disputed     and deduction for value of collateral or
                                                                    professional                    setoff to calculate unsecured claim.
                                                                    services, and
                                                                    government                        Total         Deduction
                                                                    contracts)                       claim, if     for value of     Unsecured
                                                                                                     partially     collateral or      claim
                                                                                                     secured          setoff
6   SMBC RAIL SERVICES LLC         KEVIN WINGATE                    TRADE DEBT                                                       $2,115,967.92
    KEVIN WINGATE                  PHONE: 636-940-5500
    5600 MEXICO ROAD               FAX: 312- 559-4829
    SUITE 2900                     EMAIL: BILLING@SMBCRAIL.COM
    ST PETERS, MO 63376


7   DI-CORP SAND TRANSLOADING LP   LINDA DESABRAIS                  TRADE DEBT                                                       $2,006,305.96
    LINDA DESABRAIS                PHONE: 780-468-4064
    8750-53 AVE                    EMAIL: LINDADESABRAIS@DI-
    EDMONTON, AB T6E 5G2           CORP.COM
    CANADA


8   POWNALL SERVICES LLC           MELISSA RIPLEY                   TRADE DEBT                                                       $1,819,788.38
    MELISSA RIPLEY                 PHONE: 281-813-2105
    14019 SW FREEWAY STE 301-258   FAX: 832-532-7551
    SUGAR LAND, TX 77478           EMAIL:
                                   HARRY@POWNALLSERVICES.COM


9   WELLS FARGO RAIL CORPORATION   DEAN LAGROSA                    TRADE DEBT                                                        $1,652,112.87
    DEAN LAGROSA                   PHONE: 847-384-4405
    9377 W HIGGINS RD STE 600      FAX: 847-318-7575
    ROSEMONT, IL 60018             EMAIL:
                                   DEAN.LAGROSA@FIRSTUNIONRAIL.COM


10 RBSCOTT COMPANY, INC.           JOHN MICKELSON                   TRADE DEBT                                                       $1,589,093.17
   JOHN MICKELSON                  PHONE: 715-832-9792
   1011 SHORT STREET               FAX: 715-832-7767
   EAU CLAIRE, WI 54701            EMAIL: INFO@RBSCOTT.COM



11 MUL RAILCAR LEASING LLC         ZACHARY SHARP                    TRADE DEBT                                                       $1,479,605.12
   ZACHARY SHARP                   PHONE: 503-208-9295
   121 SW MORRISON STREET          FAX: 503-227-3475
   SUITE 1525                      EMAIL: CUSTOMER_SERVICE@MUL-
   PORTLAND, OR 97204              RAILCARS.COM


12 PROCESS ENGINEERING AND         MARR MADDEN                      TRADE DEBT                                                       $1,376,639.73
   EQUIPMENT CORPORATION           PHONE: 509-468-8201
   MARR MADDEN                     EMAIL: AP@PROCESSENGINEERS.COM
   7716 W RUTTER PKWY
   SPOKANE, WA 99208


13 THE ANDERSONS, INC              REBECCA NOLL                     TRADE DEBT                                                       $1,327,272.18
   REBECCA NOLL                    PHONE: 419-897-3645
   1947 BRIARFIELD BLVD            FAX: 419-891-2749
   MAUMEE, OH 43537                EMAIL:
                                   REBECCA_NOLL@ANDERSONINC.COM


14 A-1 EXCAVATING, INC             RICHARD CRUSING                  TRADE DEBT                                                       $1,195,911.89
   RICHARD CRUSING                 PHONE: 715-568-4141
   408 26TH AVE                    FAX: 715-568-4144
   PO BOX 90                       EMAIL:
   BLOOMER, WI 54724               ESTIMATING@A1EXCAVATING.COM


15 IRON MOUNTAIN TRAP ROCK CO.     FRED WEBER                       TRADE DEBT                                                       $1,179,506.80
   FRED WEBER                      PHONE: 314-344-0070
   2320 CREVE COEUR MILL ROAD      FAX: 314-344-0970
   MARYLAND HEIGHTS, MO 63043-     EMAIL:
   0816                            MATBILLING@FREDWEBERINC.COM
                           Case 19-11566-KBO                 Doc 1   Filed 07/15/19          Page 14 of 16


Name of creditor and complete       Name, telephone number, and      Nature of the   Indicate if     Amount of unsecured claim
mailing address, including zip      email address of creditor        claim (for      claim is        If the claim is fully unsecured, fill in only
code                                contact                          example,        contingent,     unsecured claim amount. If claim is
                                                                     trade debts,    unliquidated,   partially secured, fill in total claim amount
                                                                     bank loans,     or disputed     and deduction for value of collateral or
                                                                     professional                    setoff to calculate unsecured claim.
                                                                     services, and
                                                                     government                        Total         Deduction
                                                                     contracts)                       claim, if     for value of     Unsecured
                                                                                                      partially     collateral or      claim
                                                                                                      secured          setoff
16 GREENBRIER LEASING COMPANY,      KATHERINE VANDEWATER             TRADE DEBT                                                        $928,578.81
   LLC                              PHONE: 503-684-7000
   KATHERINE VANDEWATER             FAX: 503-684-7553
   ONE CENTERPOINTE DRIVE SUITE     EMAIL: AR.INQUIRIES@GBRX.COM
   465
   LAKE OSWEGO, OR 97035


17 MODERN MATERIAL SERVICES, LLC    GARY BUFFINGTON               TRADE DEBT                                                           $832,318.18
   GARY BUFFINGTON                  PHONE: 412-489-0024
   DBA ARROW MATERIAL SERVICES      FAX: 412-489-0007
   2605 NICHOLSON RD                EMAIL:
   BUILDING 2 SUITE 302             GBUFFINGTON@ARROWMATERIALSERV
   SEWICKLEY, PA 15143              ICES.COM


18 TIDEWATER LOGISTICS OPERATING SCOTT SPENCE                        TRADE DEBT                                                        $825,159.57
   LLC                           PHONE: 855-718-9564
   SCOTT SPENCE                  EMAIL: AR@TWLOG.COM
   550 BAILEY AVENUE, SUITE 100
   FORT WORTH, TX 76107


19 B&B ELECTRIC INC.                MIKE SCHWARTZ                    TRADE DEBT                                                        $779,729.14
   MIKE SCHWARTZ                    PHONE: 715-832-1676
   1303 WESTERN AVE                 FAX: 715-832-1677
   EAU CLAIRE, WI 54703             EMAIL: BRITTANYM@B-
                                    BELECTRICINC.COM


20 MARABOU SUPERIOR PIPELINE, LLC   KARL KLANKE                      TRADE DEBT                                                        $747,805.76
   KARL KLANKE                      PHONE: 713-278-0600
   450 GEARS ROAD SUITE 850         FAX: 713-278-9324
   HOUSTON, TX 77067                EMAIL: WESW@MMSLP.COM



21 BMT CONSULTING GROUP, LLC        PAUL MCCARTHY                    TRADE DEBT                                                        $552,332.35
   PAUL MCCARTHY                    PHONE: 406-490-2598
   36 REDWOOD DR.                   EMAIL: PAUL@BMTGROUP.US
   BUTTE, MT 59701



22 EVERGREEN TRANSLOADING           RYAN PETERSON                    TRADE DEBT                                                        $506,531.16
   TERMINAL, LTD                    PHONE: 780-832-7558
   RYAN PETERSON                    EMAIL: RYAN@BAILLYS.CA
   LOT 29, 712051 RNG RD 54
   COUNTY OF GRANDE PRAIRIE NO1,
   AB T8X 4A7
   CANADA


23 CAI RAIL, INC                    FREDDY FERNANDEZ                 TRADE DEBT                                                        $489,978.05
   FREDDY FERNANDEZ                 PHONE: 415-788-0100
   STEUART TOWER                    FAX: 415-788-3430
   1 MARKET PLAZA, STE 900          EMAIL: AMCDONALD@CAPPS.COM
   SAN FRANCISCO, CA 94105-1009


24 3 B DOZER SERVICE LLC            TONYA ROCHA                      TRADE DEBT                                                        $432,747.33
   TONYA ROCHA                      PHONE: 979-828-2429
   2614 FM 2954                     FAX: 979-828-2133
   BREMOND, TX 76629                EMAIL: OFFICE@3BDOZER.COM



25 CHICAGO FREIGHT CAR LEASING      MATTHEW BRANCH                   TRADE DEBT                                                        $414,712.24
   CO                               PHONE: 847-318-8000
   MATTHEW BRANCH                   FAX: 847- 318-8045
   425 N. MARTINGALE ROAD SUITE     EMAIL: MATTHEW.BRANCH@CRDX.COM
   600
   SCHAUMBURG, IL 60173
                           Case 19-11566-KBO               Doc 1    Filed 07/15/19          Page 15 of 16


Name of creditor and complete       Name, telephone number, and     Nature of the   Indicate if     Amount of unsecured claim
mailing address, including zip      email address of creditor       claim (for      claim is        If the claim is fully unsecured, fill in only
code                                contact                         example,        contingent,     unsecured claim amount. If claim is
                                                                    trade debts,    unliquidated,   partially secured, fill in total claim amount
                                                                    bank loans,     or disputed     and deduction for value of collateral or
                                                                    professional                    setoff to calculate unsecured claim.
                                                                    services, and
                                                                    government                        Total         Deduction
                                                                    contracts)                       claim, if     for value of     Unsecured
                                                                                                     partially     collateral or      claim
                                                                                                     secured          setoff
26 INVESTORS BANK                   ADAM TEOXEIRA                   TRADE DEBT                                                        $381,150.00
   ADAM TEOXEIRA                    PHONE: 503-603-4322
   101 JFK PARKWAY                  FAX: 503-684-7553
   SHORT HILLS, NJ 07078            EMAIL: ADAM.TEOXEIRA@GBRX.XOM



27 OMNITRAX LOGISTICS SERVICES      ERIK DECHERD                    TRADE DEBT                                                        $349,770.80
   LLC                              PHONE: 303-398-4500
   ERIK DECHERD                     FAX: 303-398-4540
   252 CLAYTON STREET, 4TH FLOOR    EMAIL: INFO@OMNITRAX.COM
   DENVER, CO 80206


28 RAIL LOGIX ALAMO JUNCTION, LLC   DANIEL DOLAN                    TRADE DEBT                                                        $342,912.50
   DANIEL DOLAN                     PHONE: 713-943-0750
   3330 S SAM HOUSTON PKWY E        FAX: 713-943-8483
   HOUSTON, TX 77047                EMAIL: AR@SPEEDSHORE.COM



29 WISCALE, LLC                     NICOLE MILAND                   TRADE DEBT                                                        $271,597.51
   NICOLE MILAND                    PHONE: 715-723-5719
   3819 CREEKSIDE LANE              FAX: 715-723-5730
   HOLMEN, WI 54636                 EMAIL: NICOLE@WISCALE.COM



30 DRT BIO-SOLIDS, INC              BONNIE MITCHELL                 TRADE DEBT                                                        $223,954.17
   BONNIE MITCHELL                  PHONE: 715-568-1730
   7140 STATE HWY 40                FAX: 715-568-1788
   BLOOMER, WI 54724                EMAIL: DPRIHN29@HOTMAIL.COM
Case 19-11566-KBO   Doc 1   Filed 07/15/19   Page 16 of 16
